 

Case 4:22-cv-00498-O Document 1 Filed 06/08/22 Page 1 of 7| Ragalfgisnichcourn
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PRISONER’S CIVIL RIGHTS COMPLAINT (Rev. 08/2021) ‘ +

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IN THE UNITED STATES DISTRICT COURT J

SUN 9 2029
FOR THE NORTHERN DISTRICT OF TEXAS _ Ho DISTRICT COURT

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Plaintiff's Name and ID Number

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Place of Confinement 4 “ 2 2 C V - 4 9 8 = 0
CASE NO.
(Clerk will assign the number)

 

 

Vv.

Tareas Cowwhy Gorretdiang (00 LU) tomar sprertwerh T
Defendant’s Name and Address

 

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Defendant’s Name and Address

 

 

 

 

 

Defendant’s Name and Address
(DO NOT USE “ET AL.”)

 

INSTRUCTIONS - READ CAREFULLY
NOTICE:
Your complaint is subject to dismissal unless it conforms to these instructions and this form.

1. To start an action you must file an original and one copy of your complaint with the court. You should keep a
copy of the complaint for your own records.

2. Your complaint must be legibly handwritten, in ink, or typewritten. You, the plaintiff, must sign and declare
under penalty of perjury that the facts are correct. If you need additional space, DO NOT USE THE REVERSE
SIDE OR BACK SIDE OF ANY PAGE. ATTACH AN ADDITIONAL BLANK PAGE AND WRITE ON IT.

3. You must file a separate complaint for each claim you have unless the various claims are all related to the same
incident or issue or are all against the same defendant, Rule 18, Federal Rules of Civil Procedure. Make a short and
plain statement of your claim, Rule 8, Federal Rules of Civil Procedure.

4. When these forms are completed, mail the original and one copy to the clerk of the United States district court
for the appropriate district of Texas in the division where one or more named defendants are located, or where the
incident giving rise to your claim for relief occurred. If you are confined in the Texas Department of Criminal
Justice, Correctional Institutions Division (TDCJ-CID), the list labeled as “VENUE LIST” is posted in your unit
law library. It is a list of the Texas prison units indicating the appropriate district court, the division and an address
list of the divisional clerks.

 
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FILING FEE AND IN FORMA PAUPERIS (IFP)

1. In order for your complaint to be filed, it must be accompanied by the statutory filing fee of $350.00 plus an
administrative fee of $52.00 for a total fee of $402.00.

2. Ifyou do not have the necessary funds to pay the fee in full at this time, you may request permission to proceed
in forma pauperis. In this event you must complete the application to proceed in forma pauperis, setting forth
information to establish your inability to prepay the fees and costs or give security therefor. You must also include
a current six-month history of your inmate trust account. If you are an inmate in TDCJ-CID, you can acquire the
application to proceed in forma pauperis and the certificate of inmate trust account, also known as in forma pauperis
data sheet, from the law library at your prison unit.

3. The Prison Litigation Reform Act of 1995 (PLRA) provides “... if a prisoner brings a civil action or files an
appeal in forma pauperis, the prisoner shall be required to pay the full amount of a filing fee.” See 28 U.S.C.

§ 1915. Thus, the court is required to assess and, when funds exist, collect, the entire filing fee or an initial partial
filing fee and monthly installments until the entire amount of the filing fee has been paid by the prisoner. If you
submit the application to proceed in forma pauperis, the court will apply 28 U.S.C. § 1915 and, ifappropriate, assess
and collect the entire filing fee or an initial partial filmg fee, then monthly installments from your inmate trust
account, until the entire $350.00 statutory filing fee has been paid. (The $52.00 administrative fee does not apply
to cases proceeding in forma pauperis.)

4. Ifyou intend to seek in forma pauperis status, do not send your complaint without an application to proceed in
forma pauperis and the certificate of inmate trust account. Complete all essential paperwork before submitting it
to the court.

CHANGE OF ADDRESS

It is your responsibility to inform the court of any change of address and its effective date. Such notice should be
marked “NOTICE TO THE COURT OF CHANGE OF ADDRESS” and shall not include any motion for any
other relief. Failure to file a NOTICE TO THE COURT OF CHANGE OF ADDRESS may result in the dismissal
of your complaint pursuant to Rule 41(b), Federal Rules of Civil Procedure.

I. PREVIOUS LAWSUITS:
A. Have you filed any other lawsuit in state or federal court relating to your imprisonment? _/YES__NO
B. If your answer to “A” is “yes,” describe each lawsuit in the space below. (If there is more than one
lawsuit, describe the additional lawsuits on another piece of paper, giving the same information.)
1. Approximate date of filing lawsuit: App) / 202 I
2. Parties to previous lawsuit: :
Plaintiff(s) fice pd sgh & Linck In
Defendant(s) fevered / ¢cbio kt i dak bailhrin mite feefvin MMedione!
Court: (If federal, name the district; if state, name the county.) /arr ein}
Cause number: AVE f A
Name of judge to whom case was assigned: Af A
Disposition: (Was the case dismissed, appealed, still pending?) és + eel el | | Oe tecd Pints

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Ano SY

Approximate date of disposition: / Vj / 4
Case 4:22-cv-00498-O Document 1, Filed 06/08/22 Pear e3 75 7 PagelD 3
PLACE OF PRESENT CONFINEMENT: jf tdci ff eit iA HG

EXHAUSTION OF GRIEVANCE PROCEDURES: /
Have you exhausted all steps of the institutional grievance procedure? ___YES _VNO
Attach a copy of your final step of the grievance procedure with the response supplied by the institution.

PARTIES TO THIS SUIT:
A. Name and address ofplaintiff_Jaion Linch p166ie 2 jee MW Lemay 4 Mord bod, Tx

 

 

B. Fullname of each defendant, his official position, his place of employment, and his full mailing address.

Defendant #1: 7} A; %4%-+ gory. A Aan if

 

Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.

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Defendant #2:

 

 

Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.

 

Defendant #3:

 

 

Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.

 

Defendant #4:

 

 

Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.

 

Defendant #5:

 

 

Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.

 
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STATEMENT OF CLAIM:

State here in a short and plain statement the facts of your case, that is, what happened, where did it happen,
when did it happen, and who was involved. Describe how each defendant is involved. You need not give
any legal arguments or cite any cases or statutes, If you intend to allege a number of related claims, number
and set forth each claim in a separate paragraph. Attach extra pages if necessary, but remember the
complaint must be stated briefly and concisely. IF YOU VIOLATE THIS RULE, THE COURT MAY
STRIKE YOUR COMPLAINT.

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RELIEF:

State briefly exactly what you want the court to do for you. Make no legal arguments. Cite no cases or
statutes.

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GENERAL BACKGROUND INFORMATION:

A. State, in complete form, all names you have ever used or been known by including any and all aliases.

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B. List all TDCJ-CID identification numbers you have ever been assigned and all other state or federal
prison or FBI numbers ever assigned to you.

 

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SANCTIONS:
A. Have you been sanctioned by any court as a result of any lawsuit you have filed? YES /' NO

B. If your answer is “yes,” give the following information for every lawsuit in which sanctions were
imposed. (If more than one, use another piece of paper and answer the same questions.)

. Court that imposed sanctions (if federal, give the district and division):

 

. Case number:

 

 

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3. Approximate date sanctions were imposed:
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. Have the sanctions been lifted or otherwise satisfied? YES NO
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C. Has any court ever warned or notified you that sanctions could be imposed? YES _.f NO

D. Ifyour answer is “yes,” give the following information for every lawsuit in which a warning was issued.

(if more than one, use another piece of paper and answer the same questions.)

1. Court that issued warning (if federal, give the district and division):

 

2. Case nurnber:

 

3. Approximate date warning was issued:

 

Executed on:

 

DATE

 

(Signature of Plaintiff)

PLAINTIFF’S DECLARATIONS

I,

we

Signed this

I declare under penalty of perjury all facts presented in this complaint and attachments thereto are true
and correct.

I understand, if I am released or transferred, it is my responsibility to keep the court informed of my
current mailing address and failure to do so may result in the dismissal of this lawsuit.

T understand I must exhaust all available administrative remedies prior to filing this lawsuit.
understand I am prohibited from bringing an in forma pauperis lawsuit if | have brought three or more
civil actions or appeals (from a judgment in a civil action) in a court of the United States while
incarcerated or detained in any facility, which lawsuits were dismissed on the ground they were
frivolous, malicious, or failed to state a claim upon which relief may be granted, unless I am under
imminent danger of serious physical injury.

understand even if] am allowed to proceed without prepayment of costs, lam responsible for the entire
filing fee and costs assessed by the court, which shall be deducted in accordance with the law from my
inmate trust account by my custodian until the filing fee is paid.

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TI _day of } Listy 20 3/3.
(Day) (month) (year)

 

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be (Signature of Plaintiff)

WARNING: Plaintiffis advised any false or deliberately misleading information provided in response to the
above questions may result in the imposition of sanctions. The sanctions the court may impose include, but
are not limited to, monetary sanctions and the dismissal of this action with prejudice.
 

 

 

Your suit was filed on and has been assigned case number

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U.S. DISTRICT COURT FOR THE NORTHERN DISTRICT OF TEXAS

Instructions to a Prisoner Pro Se Plaintiff

 

These instructions do not include everything you need to know to pursue your case, but following them may heip you avoid common
mistakes that can result in delay or other consequences—including dismissal of your case.

1.

Filing Procedures - The Local Civil Rules include the following requirements:

* You must submit a judge’s copy (a paper copy) of any document you file. If you want a file-stamped copy retumed to you,
submit the original, the judge’s copy, and an extra copy to be returned to you, and provide a self-addressed, postage-paid
envelope. The clerk cannot make an extra copy for you unless you first pay a fee of 50 cents per page.

* You must type or legibly handwrite your documents on one side of numbered pages. Any exhibit or discovery material
attached to the filing must be referred to in the filing. Any exhibit or discovery material not referred to in your filing or
not attached to your filing may be returned to you.

Address Change - You must notify the Court if your address changes, or your case may be dismissed. Promptly file a written
change of address notice in your case.

Rules to Follow - You must read and follow the Court’s Local Civil Rules and the Federal Rules of Civil Procedure. Because the
presiding judge is authorized to change how certain rules apply, you must read and follow the judge’s orders in your case.

Request for Attorney - In a civil case, you generally are not entitled to a court-appointed attorney to represent you without cost to
you. Ifyou request a court-appointed attorney, a judge will decide whether to appoint an attorney depending on the circumstances
of the case. Even if the court decides to appoint an attorney, the attorney cannot be forced to accept the appointment. You may call
the Lawyer Referral Service of the State Bar of Texas at (800) 252-9690 for assistance in securing the services of a private attorney
to represent you for a fee.

Initial Case Review - If the Court grants leave to proceed in forma pauperis, service of process will be withheld pending review of
your complaint, and your complaint may be dismissed pursuant to 28 U.S.C. § 1915(e)(2}.

Copies to Defendant - After a defendant has been served your complaint, you must serve a copy of any other document you file
upon the defendant’s attorney (or upon the defendant, if the defendant is pro se). You must serve the opposing side by mail or
another manner authorized by FED. R. Civ. P. 5 (b)(2), All documents must contain a Certificate of Service reflecting that you
served the opposing side. This is an example of language you may use:

‘ Thereby certify that on (Date) , I forwarded a copy of the foregoing document to , the attorney for

(Defendant) at the address of
/Signature/

Discovery Materials - Do not file discovery materials with the clerk, If you file a motion to compel discovery, you may attach only
the portions of discovery that are relevant to your motion.

Questions About Your Case - Do not write letters to the judge asking questions about your case - all communication with the
judge should be through filings. Do not write letters to the clerk asking for instructions on how to handle your case, since the clerk
is prohibited from giving legal advice.

Mailing Address:

United States District Court

501 West 10th Street, Room 310
Fort Worth, TX 76102-3673

 
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